     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 1
                                                        Filed 02/24/17   of 431 of 43
                                                                       Page



                      REPORT FOR XARELTO FEDERAL LITIGATION


                           Expert Report of Demondes Haynes, MD. FCCP


          I am submitting this report in connection with litigation regarding Xarelto (rivaroxaban),

   an oral anticoagulant medication. Xarelto is approved for the treatment of deep vein thrombosis

   (DVT) and pulmonary embolism (PE), and for the reduction in the risk of recurrence of DVT

   and of PE, as well as for certain other medical conditions. DVT and PE are blood clotting

   disorders and are referred to collectively as venous thromboembolism (VTE).

   I.     Qualifications

          I am a physician specializing in pulmonology and critical care medicine and am

   Associate Professor of Medicine at The University of Mississippi Medical Center located in

   Jackson, Mississippi. I am a Fellow of the College of Chest Physicians and a member of the

   American Thoracic Society. I am board certified in pulmonary diseases and in critical care

   medicine. Currently, I am the program director for pulmonary and critical care fellowship

   training program, director of respiratory therapy, and chair of the procedural sedation committee

   for the University of Mississippi Medical Center.

          My education, training, publications, and research interests are described forth more fully

   in my Curriculum Vitae attached as Exhibit A.

          My clinical medical practice includes the care and treatment of patients with DVT and

   PE.

   II.    Materials Reviewed and Relied Upon in Forming Opinions

          In forming my opinions in this matter, I have reviewed the published medical literature

   regarding Xarelto and DVT/PE discussed in this report and listed on Exhibit B. I have also




                                                                                                USCA5 3206
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 2
                                                        Filed 02/24/17   of 432 of 43
                                                                       Page



   reviewed the medical records of Dora Mingo listed on Exhibit B. I have also reviewed the

   reports of plaintiff’s experts Dr. Rinder and Dr. Furberg.

          In addition to the foregoing materials, in forming my opinions I also am relying on my

   knowledge and expertise based on my education and work as a physician and Associate

   Professor of Medicine.

          My prior deposition and trial testimony in the past four years is set forth on the schedule

   attached as Exhibit C. My rate in this matter is $750 per hour.

   III.   Assignment and Summary of Opinions

          I have been asked to discuss the epidemiology, pathophysiology, diagnosis and treatment

   of DVT and PE, the scientific data regarding use of Xarelto for acute and prophylactic treatment

   of those conditions, and also to assess the medical history of Ms. Dora Mingo who was

   prescribed Xarelto for treatment of DVT and developed a bleed while on the medication.

          As explained more fully below, my opinions to a reasonable degree of medical certainty

   are as follows:

          •          DVT and PE are common, potentially life-threatening, conditions that require
                     treatment in accordance with medical guidelines, including use of anti-coagulant
                     therapy.

          •          Current medical guidelines recommend prescription of Xarelto or another non-
                     vitamin K antagonist oral anticoagulant (NOAC) as a first-line therapy (rather
                     than warfarin) for acute and long-term treatment and prophylaxis of DVT and PE
                     in patients without cancer.

          •          Xarelto was tested and demonstrated to be safe and effective for the treatment and
                     prevention of recurrence of DVT and PE in several large, pre-approval clinical
                     trials, and post-marketing real-world studies and clinical experience have
                     confirmed the safety and efficacy of Xarelto for these conditions.

          •          There is a risk of bleeding with any anticoagulant therapy. The risk of bleeding
                     associated with Xarelto – including the risk of serious and fatal bleeds – is
                     disclosed in the product label. The label also discloses that there is no reversal
                     agent for Xarelto.



                                                       2
                                                                                                    USCA5 3207
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 3
                                                        Filed 02/24/17   of 433 of 43
                                                                       Page



          •       After reviewing Ms. Mingo’s care and treatment in this case, Xarelto was
                  appropriately prescribed to Ms. Mingo for the treatment of DVT and to prevent
                  recurrence of DVT, and Xarelto was prescribed at the appropriate dose. There is
                  no evidence that Ms. Mingo would not have sustained a bleed if she had been
                  prescribed a different anticoagulant. Ms. Mingo received appropriate therapy for
                  the treatment of her bleed and has made a full recovery without any lingering
                  adverse effects. There is no evidence that a reversal agent, had one been
                  available, would have affected the course of Ms. Mingo’s bleed or resulted in a
                  better outcome.

          •       As a clinician and prescriber of new oral anticoagulants (NOACs), I cannot agree
                  with Dr. Rinder’s opinions regarding Xarelto as the cause of Ms. Mingo’s
                  gastrointestinal bleeding. A peptic ulcer was confirmed by endoscopy to be the
                  source of Ms. Mingo’s bleed. Xarelto does not cause ulcers. Evidence suggests
                  that Ms. Mingo’s ulcer pre-dated her use of Xarelto. There is no scientific
                  evidence to support an assertion that Ms. Mingo’s ulcer would not have bled had
                  she not taken Xarelto or that a bleed would not have occurred had she been taking
                  a different anticoagulant. Further, there is no head-to-head clinical trial
                  comparing the safety and efficacy of Xarelto to other NOACs on the market.
                  Therefore, as a clinician, I cannot draw any conclusion as to whether a different
                  NOAC would have proven to be a safer alternative for Ms. Mingo, and to do so
                  would be pure conjecture. From a clinical standpoint, Xarelto was appropriate for
                  Ms. Mingo, and if Ms. Mingo were my patient, I would not have ordered that she
                  discontinue Xarelto at any point in time before the bleed.



   IV.    VTE Background

          A.      Epidemiology

          VTE is a significant public health issue. According to the Centers for Disease Control

   and a recent study:1

          •       Every year in the United States there are 300,000-600,000 cases of VTE. Of
                  these:

                  •       60,000-100,000 Americans die of VTE each year.

                  •       10 to 30% of people die within one month of diagnosis.



   1
          Centers for Disease Control, Venous Thromboembolism (Blood Clots),
          http://www.cdc.gov/ncbddd/dvt/data html; Beckman MG, et al, Venous Thromboembolism: A Public
          Health Concern. Am J Prev Med. 2010 Apr;38(4 Suppl):S495-501.



                                                     3
                                                                                                         USCA5 3208
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 4
                                                        Filed 02/24/17   of 434 of 43
                                                                       Page



                     •        Sudden death is the first symptom in about one-quarter (25%) of people
                              who have a PE.

             •       Among people who have had a DVT, one-half will have long-term complications
                     (post-thrombotic syndrome) such as swelling, pain, discoloration, and scaling in
                     the affected limb.

             •       One-third (about 33%) of people with DVT/PE will have a recurrence within 10
                     years.

             •       Approximately 5% to 8% of the U.S. population has one of several genetic risk
                     factors, known as inherited thrombophilias, that increase the risk of thrombosis.

             “All races and ethnicities are affected by VTE, as are both genders and all age groups.

   With many of the known risk factors – advanced age, immobility, surgery, obesity – increasing

   in society, it is an important and growing public health problem.”2

             B.      Pathophysiology: Virchow’s Triad

             Three etiologic factors have been identified as critical to the formation of venous blood

   clots:3

             •       Vascular Endothelial Injury – damage to the inner lining of the veins. Physical,
                     chemical, or biological events such as surgery, trauma, inflammation, or immune
                     responses can cause such damage.

             •       Venous Stasis – obstruction or slowing of blood flow. Immobility can cause
                     sluggish blood flow. This may be caused by surgery or illness, or by extended
                     periods of travel or sitting.

             •       Hypercoagulability – activation of the coagulation system. Certain inherited
                     conditions (such as factor V Leiden), or use of medications such as hormone
                     therapy or oral contraceptives, can increase the tendency to clot or decrease the
                     tendency to break down clots.




   2
             Beckman MG, et al, Venous Thromboembolism: A Public Health Concern. Am J Prev Med. 2010
             Apr;38(4 Suppl):S495-501
   3
             Anderson FA, et al, Risk factors for venous thromboembolism. Circulation. 2003 Jun 17;107(23 Suppl
             1):I9-16.




                                                           4
                                                                                                              USCA5 3209
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 5
                                                        Filed 02/24/17   of 435 of 43
                                                                       Page



          VTE does not usually develop in the absence of at least one of these three factors. These

   three factors are often referred to as Virchow’s Triad because they were first recognized by

   pathologist Rudolf Virchow in 1884:




          C.      Risk Factors

          Many factors have been identified as increasing the risk of VTE. A table listing many of

   the known VTE risk factors, and quantifying the magnitude of the increased risk, is set forth

   below:4




   4
          Anderson FA, et al, Risk factors for venous thromboembolism. Circulation. 2003 Jun 17;107(23 Suppl
          1):I9-16 (Table 2).




                                                        5
                                                                                                          USCA5 3210
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 6
                                                        Filed 02/24/17   of 436 of 43
                                                                       Page




                                                                             USCA5 3211
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 7
                                                        Filed 02/24/17   of 437 of 43
                                                                       Page




                                                                             USCA5 3212
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 8
                                                        Filed 02/24/17   of 438 of 43
                                                                       Page



           Of people that have DVT, only about half have signs and symptoms; the remainder are

   asymptomatic. When present, the signs and symptoms of DVT are usually unilateral, and often

   include:

           •       Swelling of the leg or along a vein in the leg.

           •       Pain or tenderness in the leg, which may be felt only when standing or walking or
                   upon physical examination (by means of a test known as Homans’ sign).

           •       Increased warmth in the area of the leg that's swollen or painful.

           •       Red or discolored skin on the leg.

           Differential diagnosis of DVT includes ruling out other conditions that are associated

   with similar signs and symptoms: Baker’s cyst; cellulitis; muscle strain, tear or other injury;

   lymphatic obstruction; and leg swelling in a paralyzed limb.

           Tests that may be used to diagnose and confirm the presence of DVT include Wells Score

   (a quantitative assessment of certain systems); Doppler examination (compression

   ultrasonography); D-Dimer blood test; venography imaging; MRI/MRA imaging; and CT

   angiogram imaging.

                   2.      PE Clinical Presentation

           Pulmonary embolism is a blood clot that blocks an artery in the lungs. In most cases, PE

   is caused by a blood clot that originates in the deep veins of the legs or pelvis – but also may

   rarely originate in the renal veins, upper extremity veins, or the right side of the heart – and then

   travels (i.e., embolizes) into the lung:




                                                     8
                                                                                                      USCA5 3213
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 9
                                                        Filed 02/24/17   of 439 of 43
                                                                       Page




                                                                             USCA5 3214
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 10
                                                        Filed 02/24/17    of 43
                                                                       Page  10 of 43




          Tests that may be used to diagnose and confirm the presence of PE include D-Dimer

   blood test; ventilation perfusion (V/Q) scan (if the chest x-ray is normal); CT angiogram (PE

   protocol); pulmonary angiogram; and MRI/MRA imaging.

          E.      Treatment:        2012 & 2016 Antithrombotic Guidelines Promulgated by
                  CHEST

          Objectives of VTE treatment include prevention of further clot extension, prevention of

   PE, reduction of the risk of recurrent VTE, and prevention of late complications (post-thrombotic

   syndrome, chronic venous insufficiency, and chronic thromboembolic pulmonary hypertension).5

          The American College of Chest Physicians (ACCP), a professional medical organization

   of which I am a Fellow, “has been developing and publishing guidelines for the treatment of

   DVT and PE . . . for more than 30 years.”6 The 2012 Guidelines indicated that NOACs were an

   acceptable alternative to warfarin for treatment of DVT.7 The most recent set of guidelines (the

   10th Edition, published in 2016), was prepared by an appointed group of experts following

   extensive study using evidence-based medicine methodologies, and further confirms the

   evidence relied upon in 2012 for DVT treatment. Prior to adoption, the guideline underwent

   external peer review by “content experts, a methodological expert, and a practicing clinician.

   The final manuscript was reviewed and approved by the CHEST guidelines oversight committee

   (GOC), the CHEST Board of Regents, and the CHEST journal.” The guideline was also


   5
          Kearon C, Natural history of venous thromboembolism. Circulation. 2003 Jun 17;107(23 Suppl 1):I22-30.
   6
          Kearon C, et al. Antithrombotic Therapy For VTE Disease: Chest Guideline And Expert Panel Report.
          Chest. 2016;149(2):315-352.
   7
          Bates SM, et al. Diagnosis of DVT: Antithrombotic Therapy and Prevention of Thrombosis, 9th ed:
          American College of Chest Physicians Evidence-Based Clinical Practice Guidelines. Chest. 2012 Feb;
          141(2 Suppl): e351S-418S.




                                                       10
                                                                                                           USCA5 3215
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 11
                                                        Filed 02/24/17    of 43
                                                                       Page  11 of 43



   reviewed and endorsed by “by the American Association for Clinical Chemistry, the American

   College of Clinical Pharmacy, the International Society for Thrombosis and Haemostasis, and

   the American Society of Health-System Pharmacists.”

          The 2016 Antithrombotic Guideline recommends prescription of Xarelto (or another

   NOAC) as a first-line therapy in preference to warfarin for the treatment of DVT or PE in

   patients without cancer: “In patients with DVT of the leg or PE and no cancer, as long-term

   (first 3 months) anticoagulant therapy, we suggest dabigatran, rivaroxaban, apixaban, or

   edoxaban over vitamin K antagonist (VKA) therapy.”8

          The 2016 Antithrombotic Guideline explains in great detail why Xarelto (or another

   NOAC) should be the first-line therapy in the treatment of DVT and PE (emphasis supplied,

   citations omitted):

          In the 10th Edition of the Antithrombotic Guideline (AT10), the panel’s overall
          assessment of the relative efficacy and risk of bleeding with different
          anticoagulant agents is that: (1) the risk reduction for recurrent VTE with all of
          the NOACs appears to be similar to the risk reduction with VKA, including in
          patients with cancer; (2) in patients with VTE and cancer, the risk reduction for
          recurrent VTE appears to be greater with LMWH than with VKA therapy; (3) the
          risk reduction for recurrent VTE with the NOACs compared to LMWH has not
          been assessed but, based on indirect comparisons, LMWH may be more effective
          that the NOACs in patients with VTE and cancer; (4) the risk reduction for
          recurrent VTE with different NOACs has not been directly compared but, based
          on indirect comparisons, appears to be similar to all of the NOACs; (5) the risk
          of bleeding with the NOACs, and particularly intracranial bleeding, is less
          with the NOACs than with VKA therapy; (6) based on patients with atrial
          fibrillation, GI bleeding may be higher with dabigatran, rivaroxaban, and
          edoxaban than with VKA therapy, although this has not been seen in patients with
          VTE; (7) based on indirect comparisons, the risk of bleeding may be lower with
          apixaban than with the other NOACs; and (8) despite the lack of specific
          reversal agents for the NOACs, the risk that a major bleed will be fatal
          appears to be no higher for the NOACs than for VKA therapy.



   8
          Kearon C, et al. Antithrombotic Therapy For VTE Disease: Chest Guideline And Expert Panel Report.
          Chest. 2016;149(2):315-352.



                                                       11
                                                                                                          USCA5 3216
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 12
                                                        Filed 02/24/17    of 43
                                                                       Page  12 of 43



          Based on less bleeding with NOACs and greater convenience for patients and
          healthcare providers, we now suggest that a NOAC is used in preference to
          VKA for the initial and long-term treatment of VTE in patients without
          cancer. Factors that may influence which anticoagulant is chosen for initial and
          long-term treatment of VTE are summarized in Table 6. This decision is also
          expected to be sensitive to patient preferences. The order of our presentation of
          the NOACs (dabigatran, rivaroxaban, apixaban, edoxaban) is based on the
          chronology of publication of the phase 3 trials in VTE treatment and should not
          be interpreted as the guideline panel’s order of preference for the use of these
          agents.

          Considerations that are particularly important clinically are bolded in the foregoing

   passage. The lower risk of intracranial bleeding with Xarelto is highly significant because the

   consequences of an intracranial bleed can be devastating, whereas GI (gastrointestinal) bleeding

   is usually medically manageable. It is also noteworthy that despite the absence of a reversal

   agent for Xarelto, the risk of a fatal bleed is not greater than with warfarin.

          The 2016 Antithrombotic Guideline also emphasizes that Xarelto and other NOACs are

   more convenient for patients and physicians than warfarin. Because warfarin has a slow onset of

   action, patients diagnosed with DVT or PE who are treated with warfarin must first be

   hospitalized and treated with injectable low molecular weight heparin (enoxaparin, also called

   Lovenox) or intravenous unfractionated heparin as they are “bridged” to warfarin over a period

   of several days. In contrast, because Xarelto (and other NOACs) have a rapid onset of action, in

   many instances patients can avoid hospitalization and bridging with intravenous or injectable

   heparin. Those are significant advantages for patients and for the healthcare system. Some other

   important attributes of Xarelto that make it more convenient than warfarin include: (1) fixed

   dosing (15mg twice daily for the first 21 days; 20mg once-daily thereafter); (2) predictable

   anticoagulant response; (3) no dietary restrictions; (4) few drug–drug interactions; (5) no routine

   coagulation monitoring or dose adjustment; and (6) simplified therapy which enhances patient

   adherence.



                                                     12
                                                                                                   USCA5 3217
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 13
                                                        Filed 02/24/17    of 43
                                                                       Page  13 of 43




                                                                             USCA5 3218
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 14
                                                        Filed 02/24/17    of 43
                                                                       Page  14 of 43




                                                                             USCA5 3219
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 15
                                                        Filed 02/24/17    of 43
                                                                       Page  15 of 43



          In addition, a pooled analysis of the EINSTEIN–DVT and –PE trials analyzed the safety

   and efficacy of Xarelto in pre-specified patient subgroups, such as those with cancer, and those

   with previous VTE. Most recently, a prospective observational study dubbed XALIA examined

   the “real world” efficacy and safety of Xarelto for the treatment of DVT.

          Each of these studies is summarized below.

          A.      EINSTEIN-DVT Clinical Trial

          EINSTEIN-DVT was a randomized, open label study which compared the efficacy and

   safety of Xarelto with standard therapy (enoxaparin-bridged-to-warfarin) in 3449 patients with

   confirmed DVT (without symptomatic PE).9 The study design is shown below:




          In his report, Dr. Furberg criticizes EINSTEIN’s open label design. I agree with him that

   where feasible, a double-blind study is preferable to minimize a study’s bias. However,

   EINSTEIN’s logistics made a double-blind trial impracticable. To compensate for the open-




   9
          EINSTEIN Investigators, Oral rivaroxaban for symptomatic venous thromboembolism. N Engl J Med.
          2010 Dec 23; 363(26): 2499-510.



                                                     15
                                                                                                       USCA5 3220
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 16
                                                        Filed 02/24/17    of 43
                                                                       Page  16 of 43



   label design, other design features were utilized in EINSTEIN to minimize bias, including

   randomization and using hard endpoints that that were adjudicated by an independent body.

          The study demonstrated that Xarelto was at least as effective as standard therapy, with

   the primary efficacy outcome (recurrent VTE) occurring in 36 Xarelto patients (2.1%) vs. 51

   patients (3.0%) in the standard therapy group (hazard ratio, 0.68; 95% confidence interval [CI],

   0.44 to 1.04; P<0.001)).

          The principal safety outcome (composite of major bleeding and clinically relevant

   nonmajor bleeding) occurred in 139 Xarelto patients (8.1%) and in 138 patients given standard

   therapy (8.1%).10

          Contrary to Dr. Furberg’s stated criticism, EINSTEIN’s primary safety endpoint did not

   change. The primary endpoint was clinically relevant bleeding, which included major bleeding

   and clinically relevant non-major bleeding. This remained the primary endpoint throughout the

   study, and the allegation that the primary safety endpoint changed is not supported by the

   Statistical Analysis Plans.



          B.       EINSTEIN-PE Clinical Trial

          EINSTEIN-PE was a randomized, open-label trial which compared the efficacy and

   safety of Xarelto with standard therapy (enoxaparin-bridged-to-warfarin) in 4832 patients with




   10
          Major bleeding was defined as overt bleeding associated with a fall in hemoglobin of 2 g/dL or more,
          leading to a transfusion of 2 or more units of packed red blood cells or whole blood, that occurred in a
          critical site (intracranial, intraspinal, intraocular, pericardial, intra-articular, intramuscular with
          compartment syndrome, retroperitoneal), or contributing to death. Clinically relevant nonmajor bleeding
          was defined as overt bleeding not meeting the criteria for a major bleeding event but associated with
          medical intervention, unscheduled contact (visit or telephone call) with a physician, (temporary) cessation
          of study treatment, discomfort for the subject such as pain, or impairment of activities of daily life.



                                                          16
                                                                                                                 USCA5 3221
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 17
                                                        Filed 02/24/17    of 43
                                                                       Page  17 of 43



   confirmed symptomatic PE (with or without symptomatic DVT).11 The study design is shown

   below:




            The study demonstrated that Xarelto was at least as effective as standard therapy, with

   the primary efficacy outcome (recurrent VTE) occurring in 50 Xarelto patients (2.1%) vs. 44

   patients in the standard therapy group (1.8%) (hazard ratio, 1.12; 95% confidence interval [CI],

   0.75 to 1.68).

            The principal safety outcome (composite of major bleeding and clinically relevant

   nonmajor bleeding) occurred in 249 Xarelto patients (10.3%) and in 274 patients given standard

   therapy (11.4%) (hazard ratio, 0.90; 95% CI, 0.76 to 1.07; P=0.23).



            C.      EINSTEIN Pooled Analyses

            A pre-specified, pooled analysis of the EINSTEIN-DVT and EINSTEIN-PE studies was

   conducted to investigate the safety and efficacy of Xarelto in important subgroups of patients,

   including fragile patients (those with one or more of these criteria: age >75 years, CrCl <50

   11
            EINSTEIN–PE Investigators, Oral rivaroxaban for the treatment of symptomatic pulmonary embolism. N
            Engl J Med. 2012 Apr 5; 366(14): 1287-97.



                                                        17
                                                                                                          USCA5 3222
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 18
                                                        Filed 02/24/17    of 43
                                                                       Page  18 of 43



   mL/min, or body weight ≤50 kg), cancer patients, patients presenting with large clots, and those

   with a history of recurrent VTE.12

          I disagree with Dr. Furberg’s criticism about the appropriateness of the pooled analysis.

   The two studies used an identical design, treatment regimens, outcome definitions, and

   adjudication processes to allow for pre-specified pooled analysis based on individual patient

   data. In addition, the pooled analysis has increased statistical power for subgroup analysis.

          In the pooled study, Xarelto was shown to be at least as effective as standard therapy and

   was associated with a significantly lower rate of major bleeding:




          The efficacy and safety results were consistent among key patient subgroups, with major

   bleeding statistically significantly less frequent in patients treated with Xarelto (fragile patients

   were those age >75 years, CrCl <50 mL/min, and/or body weight ≤50 kg):




   12
          EINSTEIN Investigators, Oral rivaroxaban versus standard therapy for the treatment of symptomatic
          venous thromboembolism: a pooled analysis of the EINSTEIN-DVT and PE randomized studies. Thromb
          J. 2013 Sep 20; 11(1): 21.



                                                     18
                                                                                                       USCA5 3223
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 19
                                                        Filed 02/24/17    of 43
                                                                       Page  19 of 43




          D.      EINSTEIN-EXT Clinical Trial

          EINSTEIN EXT was an extension trial that investigated the efficacy and safety of

   Xarelto as a longer-term prophylactic treatment in 1196 patients with confirmed DVT or PE who

   had already completed their originally prescribed duration of anticoagulant therapy.13 The study

   was a double-blind clinical trial in which patients with confirmed symptomatic DVT or PE, who

   had been treated for 6 or 12 months with warfarin or Xarelto, were then randomly assigned to

   receive continued treatment with Xarelto or placebo. The study design is shown below:




   13
          EINSTEIN Investigators, Oral rivaroxaban for symptomatic venous thromboembolism. N Engl J Med.
          2010;363(26):2499-2510.



                                                     19
                                                                                                       USCA5 3224
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 20
                                                        Filed 02/24/17    of 43
                                                                       Page  20 of 43




          The primary efficacy outcome (recurrent VTE) occurred in 8 patients (1.3%) in the

   Xarelto group as compared with 42 patients (7.1%) in the placebo group (hazard ratio, 0.18; 95%

   CI, 0.09 to 0.39; P<0.001, relative risk reduction, 82%).




          The principal safety outcome of major bleeding occurred in 4 patients (0.7%) in the

   Xarelto group and in none of the patients in the placebo group (P=0.11).


                                                   20
                                                                                                USCA5 3225
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 21
                                                        Filed 02/24/17    of 43
                                                                       Page  21 of 43



          These results demonstrated that continuing Xarelto therapy provided extended risk

   reduction by reducing the rate of VTE recurrence by 82% with a small risk of major hemorrhage

   (0.7%, with no fatal hemorrhages, compared with no patients in the placebo group). Note that

   the placebo control was ethical in this trial because at the time the trial was run, it was not clear

   whether these patients would benefit from an extended regimen.

          E.      Responses to Dr. Furberg’s Additional Criticisms of EINSTEIN

                  1.      EINSTEIN’s non-inferiority margin of 2.0 is well within acceptable
                          margins and is consistent with similar studies of other NOACs. Contrary
                          to Dr. Furberg’s assessment, EINSTEIN’s non-inferiority margin was not
                          arbitrary but rather was carefully chosen based on previous clinical trials.
                          Further, EINSTEIN’s margins are consistent with those recommended by
                          the FDA in a recent guidance.

                  2.      Dr. Furberg criticizes EINSTEIN’s population as being too low risk and
                          claims that many of the higher risk subjects were excluded from the study.
                          However, VTE patients are necessarily high risk, and the characteristics of
                          EINSTEIN’s subjects demonstrate that the study actually included patients
                          with several other serious comorbidities. Numerous high risk patients
                          remained in the study after exclusion criteria were applied, including
                          patients with thrombophilia, previous VTE, and active cancer. Exclusion
                          criteria are necessary in studies to mitigate positive and negative biases.
                          Further, the recently published Beyer-Westendorf analysis demonstrates
                          that the patient population of EINSTEIN was at higher risk of VTE and
                          bleeding than the patient population in AMPLIFY.

                  3.      Dr. Furberg criticizes EINSTEIN’s case confirmation rate as being too
                          low. In EINSTEIN-DVT, the case confirmation rate was 16% in the
                          rivaroxaban group, and 24% for standard treatment. EINSTEIN-PE had
                          case confirmation rates of 10% in both groups. Compared to similar
                          studies, this rate is typical and acceptable. From a clinical perspective,
                          DVT is only diagnosed in a fraction of those patients in whom it is
                          initially suspected. Symptoms of DVT, including pain and swelling, are
                          non-specific and can be caused by a variety of conditions. DVT is usually
                          on a clinician’s differential diagnosis, but it is only after diagnostic testing
                          that a case of it can be confirmed. Because I have seen this play out
                          throughout my practice, I am not surprised over the case confirmation
                          rates in the EINSTEIN study.

                  4.      Dr. Furberg criticizes that EINSTEIN’s study population was drawn from
                          a broad geographic area. However, this study design is very common in
                          large studies and is often necessary to enroll enough subjects to


                                                     21
                                                                                                     USCA5 3226
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 22
                                                        Filed 02/24/17    of 43
                                                                       Page  22 of 43



                           appropriately power the study. In EINSTEIN-DVT and -PE specifically,
                           sub analyses were performed and found that there were no differences in
                           geographical areas.

          F.      XALIA Real World DVT Observational Study

          XALIA was an international, prospective study of patients with objectively confirmed

   deep vein thrombosis who were treated with Xarelto or with standard anticoagulation therapy.14

   The study was designed as a “real world” assessment of the safety and eﬀectiveness of Xarelto

   for the treatment of symptomatic deep vein thrombosis in patients typically seen and managed in

   routine practice.

          With respect to efficacy, the study found that the primary efficacy outcome (recurrent

   VTE) occurred with similar frequency in the Xarelto group than in the standard anticoagulation

   group. Thus, the frequency of recurrent venous thromboembolism was 1.4% (36/2505) in the

   Xarelto group and 2.3% (47/2010) in the standard anticoagulation group (propensity score-

   adjusted HR 0.91 [95% CI 0.54–1.54], p=0.72).

          With respect to safety, the study found that major bleeding and mortality occurred at a

   similar rate in the Xarelto group than in the standard anticoagulation group. Thus, the frequency

   of major bleeding was 0.8% (19/2505) in the Xarelto group and 2.1% (43/2010) in the standard

   anticoagulation group (propensity score-adjusted hazard ratio (HR) of 0.77 (95% CI 0·40–1·50);

   p=0.4). The all-cause mortality frequency was 0.4% (11/2505) in the Xarelto group and 3.4%

   (69/2010) in the standard anticoagulation group (propensity score-adjusted HR 0.51 [95% CI

   0.24–1.07], p=0.074).




   14
          Ageno, Walter et al. Safety and effectiveness of oral rivaroxaban versus standard anticoagulation for the
          treatment of symptomatic deep-vein thrombosis (XALIA): an international, prospective, non-interventional
          study. The Lancet Haematology, Volume 3, Issue 1 , e12 - e21 (Jan. 2016).



                                                        22
                                                                                                             USCA5 3227
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 23
                                                        Filed 02/24/17    of 43
                                                                       Page  23 of 43



           XALIA confirmed the findings of the EINSTEIN studies in real world clinical

   experience.

   VI.     The Xarelto Label Discloses the Risk of Bleeding, Absence of a Reversal Agent, and
           Pertinent Data Regarding DVT and PE

           A.      Bleeding Risk

           As part of their medical education and training, physicians are taught that all

   anticoagulant medications increase the risk of serious and potentially fatal bleeding. For that

   reason, even if such information were not disclosed on the Xarelto label, prescribing physicians

   would be aware of the bleeding risk.

           In addition, the Xarelto label advises physicians that the medication increases the risk of

   serious and fatal bleeding events. Thus, the First Page of the USPI, under the heading

   “Warnings and Precautions,” states “Risk of Bleeding: Xarelto can cause serious and fatal

   bleeding,” and that warning is repeated in section 5.2 of the label.

           B.      Reversal Agent

           Section 5.2 of the label advises physicians that there is no reversal agent for Xarelto,

   stating that “A specific antidote for rivaroxaban is not available.”

           C.      DVT and PE Information

           Dosing recommendations for patients with DVT or PE are set forth in sections 2 and 2.4

   of the label.

           Information regarding bleeding events that occurred in the EINSTEIN clinical trials is set

   forth in section 6.1 the label.

           Information regarding the design and results of the EINSTEIN clinical trials is set forth in

   section 14.1 of the label.




                                                    23
                                                                                                      USCA5 3228
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 24
                                                        Filed 02/24/17    of 43
                                                                       Page  24 of 43



   VII.   Review of Plaintiff’s Medical History

          After a lengthy history of hip pain, Ms. Mingo, a retired substitute teacher, underwent hip

   replacement surgery at St. Dominic’s on January 6, 2015. She was discharged from St.

   Dominic’s on January 9th, and was instructed to take Lovenox for 7 days, and transition to

   aspirin 325 mg after finishing the Lovenox. Ms. Mingo had a history of lower extremity

   swelling, and after her hip surgery, this swelling continued. On January 22, 2015, she received a

   Doppler that showed DVT in the right peroneal vein, with the left leg scan clear. She was

   admitted to Southwest Mississippi Regional Medical Center on January 22nd, put on Lovenox

   and Coumadin initially, and switched to Xarelto. Xarelto was initiated by Dr. Renie Jordan on

   January 23rd while Ms. Mingo was still in the hospital. She was discharged on January 24th, with

   a prescription for Xarelto 15mg BID for 20 days.

          Ms. Mingo was at a high risk for a DVT due to her hip surgery. She was also a smoker,

   and she was obese; both of these are risk factors for blood clots. On the evening of February 2,

   2015, she presented to the emergency room at King’s Daughters hospital with complaints of

   BLE swelling and pain. Her labs showed a hematocrit of 27.2, and a hemoglobin of 8.6, and a

   weakly positive hemoccult test result. King’s Daughters ran a nuclear scan, the tagged red blood

   test, to rule out the diagnosis of an active GI bleed. The results of this test showed no evidence

   of active bleeding. King’s Daughters sent her home that same evening with instructions to visit

   her primary care physician the next day.

          On February 13, 2015, Ms. Mingo reported to Southwest Mississippi Regional Medical

   Center for a suspected GI bleed after the results from her labs drawn the day before by PCP Dr.

   Gholson showed worsening anemia. Ms. Mingo reported having black stools since January 9 to

   the emergency room physician. At the time she was admitted, her hematocrit was 20.0, and her

   hemoglobin was 6.4. Her gastroenterologist, Dr. Keith, performed a scope the afternoon she was


                                                   24
                                                                                                  USCA5 3229
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 25
                                                        Filed 02/24/17    of 43
                                                                       Page  25 of 43



   admitted, diagnosed an oozing ulcer, performed an APC procedure, and placed a clip to treat the

   ulcer. During Ms. Mingo’s stay at Southwest Mississippi Regional Medical Center, she received

   4 units of blood, and 2 units of fresh frozen plasma. She remained in the hospital for two nights,

   and was discharged on aspirin 325 mg after refusing her physician’s recommendation to

   reinitiate Xarelto.

            A repeat scope performed by Dr. Keith in May 2015 showed healed gastric ulcers. Ms.

   Mingo has had no repeat transfusions and no additional episodes.

   VIII. Case-Specific Opinions:

            Records show that Ms. Mingo had iron deficiency anemia diagnosed as of 8/20/2013.

   The most common cause of iron deficiency anemia in a post-menopausal woman is slow blood

   loss. This diagnosis would indicate she was experiencing abnormal bleeding from somewhere.

            Dr. Keith’s EGD confirmed that Ms. Mingo had peptic ulcer disease (PUD), which was

   the source of Ms. Mingo’s bleed on 2/13/2015.

            There is no mechanism by which Xarelto causes ulcers to occur, nor by which Xarelto

   causes ulcers to bleed.

            Ms. Mingo’s prescription for prophylaxis that the orthopedic surgeon prescribed to her

   after her hip surgery, i.e., Lovenox transitioning to aspirin 325 mg, was not successful for Ms.

   Mingo. She was diagnosed with a blood clot on January 22nd, just a few days after completing

   her course of Lovenox on or around January 16th and transitioning to aspirin 325 mg. Xarelto

   was a good choice for her in part due to her failure on other courses of anticoagulation. Ms.

   Mingo needed this medication, and the benefits of the medication outweighed the risks of a

   bleed.




                                                   25
                                                                                                   USCA5 3230
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 26
                                                        Filed 02/24/17    of 43
                                                                       Page  26 of 43



          Although Ms. Mingo had had a few transient decreases in her eGFR levels prior to

   Xarelto treatment, these decreases did not reach the threshold at which a dose adjustment for

   Xarelto was indicated. Ms. Mingo’s creatinine levels and eGFRs were normal at the time

   Xarelto treatment was initiated, and normal at the time she was discharged after her GI bleed.

   Her kidney function did not put her at any increased risk of bleeding on Xarelto or any other

   anti-coagulant.

          When Ms. Mingo was admitted to the hospital for a GI bleed, her hematocrit was 20.0,

   and her hemoglobin was 6.4. While low, these are not life threatening in and of themselves, and

   she was stable at presentation. In my opinion, she was not a candidate for any kind of reversal

   agent because she did not need that kind of treatment.

          The pharmacodynamics of Xarelto are stable and predictable, and a PT test is not

   clinically useful for someone who is on Xarelto. A PT test would not have provided me any

   clinically useful information on a patient like Ms. Mingo. While a Factor Xa test could have

   been performed, these tests are not routinely ordered for clinical purposes. In fact, I cannot recall

   a time that I ordered one clinically, as checking the Xa level will not tell me anything of clinical

   significance that could or would change the course of treatment, and I will still manage patient in

   the same way. Further, by the time it would take to obtain the result from this test, any urgent

   treatment has already been initiated to properly manage the bleed.

          Ms. Mingo was diagnosed with an oozing ulcer; this ulcer was the cause of her GI bleed.

   She would have bled on any anticoagulant because all NOACs carry a risk of bleeding. We

   know that Xarelto increases the risk that an existing ulcer will bleed, and based on the records,

   her PUD likely pre-dated the use of Xarelto.




                                                    26
                                                                                                   USCA5 3231
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 27
                                                        Filed 02/24/17    of 43
                                                                       Page  27 of 43




                                                                            USCA5 3232
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 28
                                                        Filed 02/24/17    of 43
                                                                       Page  28 of 43




                          EXHIBIT A




                                                                             USCA5 3233
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 29
                                                        Filed 02/24/17    of 43
                                                                       Page  29 of 43
      Demondes Haynes, MD, FCCP                                                        Curriculum Vitae (September 2016)


                                                 CURRICULUM VITAE

                                           DEMONDES HAYNES, M.D., FCCP

      Professional Address
      2500 North State Street
      Jackson, MS 39216



      Academic Positions

      2013 - Present – Associate Professor of Medicine, Division of Pulmonary, Critical Care, and Sleep
      Medicine, University of Mississippi School of Medicine, Jackson, MS

      2007 - 2013 – Assistant Professor of Medicine, Division of Pulmonary, Critical Care, and Sleep Medicine,
      University of Mississippi School of Medicine, Jackson, MS

      Education and Training

      2003-2006— Fellow, Department Medicine, Division of Pulmonary, Critical Care, and Sleep Medicine,
      University of Mississippi Medical Center, Jackson, MS

      2002-2003—Chief Resident, Department of Internal Medicine, University of Mississippi Medical Center,
      Jackson, MS

      1999-2002— Resident, Department of Internal Medicine, University of Mississippi Medical Center,
      Jackson, MS

      1995-1999—University of Mississippi School of Medicine, Jackson, MS
               M.D., May 1999

      1991-1995—University of Mississippi, Oxford, MS
                 B.A. in Biology

      Honors and Awards

      2014 – Norman C. Nelson Order of Teaching Excellence Award Recipient

      2011 – Teacher of the Year Award from the Department of Medicine, University of Mississippi School of
      Medicine, Jackson, MS

      2009-2010 – All-Star Clinician Award from the Carl G. Evers, M.D. Society, University of Mississippi School
      of Medicine, Jackson, MS

      2008-2009 – Certificate of Appreciation for Residency Education from Department of Family Medicine,
      University of Mississippi School of Medicine, Jackson, MS

      2002-2003 – Chief Resident, Department of Internal Medicine, University of Mississippi Medical Center,
      Jackson, MS

      2002 – Hellems House Officer of the Year Award, Department of Medicine, University of Mississippi
      Medical Center, Jackson, MS

                                                           1

                                                                                                                    USCA5 3234
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 30
                                                        Filed 02/24/17    of 43
                                                                       Page  30 of 43
      Demondes Haynes, MD, FCCP                                                       Curriculum Vitae (September 2016)



      2002 – Robert S. Caldwell Memorial Resident of the Year Award presented by the Medical Assurance
      Company of Mississippi (MACM)

      2002 – Alpha Omega Alpha Resident of the Year Award, University of Mississippi School of Medicine,
      Jackson, MS

      2001 – Special Recognition Award - G.V. (Sonny) Montgomery V.A. Medical Center, Jackson, MS

      1999-2000 – Intern of The Year Award, Department of Internal Medicine, University of Mississippi School
      of Medicine, Jackson, MS

      Certification

      2008 – Fellow, American College of Chest Physicians

      2006 – Diplomate American Board of Internal Medicine in Critical Care Medicine

      2005 – Diplomate American Board of Internal Medicine in Pulmonary Medicine

      2002 – Diplomate American Board of Internal Medicine in Internal Medicine

      Mississippi State Board of Medical Licensure

      United States Medical Licensure Examination

      Professional Society Memberships and Directorships

      March 2016 – present, Member, American College of Chest Physicians (ACCP), Diversity Task Force

      Feb 2016 – present – Member, University of Mississippi Medical Center Hospital Mortality Review Task
      Force

      May 2016 – present – Member, University of Mississippi Medical Center School of Medicine, Faculty
      Development Task Force

      December 2008 – present – Medical Director, Respiratory Therapy Department, University of Mississippi
      Medical Center, Jackson, MS

      July 2008 – June 2012 – Medical Director, Medical Intensive Care Unit, University of Mississippi Medical
      Center, Jackson, MS

      August 2007 - July 2008 – Medical Director, Bronchoscopy Suite, University of Mississippi Medical Center,
      Jackson, MS

      2003-present – American College of Chest Physicians

      2003-present – American Thoracic Society

      1995-present – American Medical Association

      2006 – 2007 – Medical Director Cardiopulmonary Department of River Oaks Hospital, Flowood, MS


                                                            2

                                                                                                                 USCA5 3235
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 31
                                                        Filed 02/24/17    of 43
                                                                       Page  31 of 43
      Demondes Haynes, MD, FCCP                                                        Curriculum Vitae (September 2016)


      2006 – 2007 – Medical Director Intensive Care Unit River Oaks Hospital Flowood, MS

      2001-2003 – Member National Council of Associates for American College of Physicians-American Society
      of Internal Medicine

      University/Department Committees and Educational Service

      July 2016 – present – Member, Graduate Medical Education Committee (GMEC), University of Mississippi
      Medical Center

      July 2012 – 2015 – Member, Environmental Health and Safety Committee
      University of Mississippi Medical Center

      May 2011 – 2013 – Mentoring Committee Member for Junior Faculty, Department of Medicine, University
      of Mississippi Medical Center

      March 2011 – present – Physician Leader, Procedural Sedation Committee, University of Mississippi
      Medical Center

       2011 – 2012 – Member, ECMO Task Force, University of Mississippi Medical Center

      January 2010 – present – Course Director for Third Year Medical Student Rotation in Pulmonary Medicine

      July 2010 – present – Fellowship Program Director, Division of Pulmonary, Critical Care and Sleep
      Medicine, Department of Medicine

      July 2010- present – Member, University of Mississippi School of Medicine Admissions Committee

      January 2009 – present – Course Director for Fourth Year Medical Student Rotation in Pulmonary/Critical
      Care Medicine

      July 2009 – present – Lecturer, Internal Medicine Board Review Course, University of Mississippi School of
      Medicine, Jackson, MS

      July 2009 – present – Member, Faculty Forward Task Force, University of Mississippi School of Medicine

      August 2009 – present – House Officer Selection Committee, Department Of Medicine, University of
      Mississippi School of Medicine

      July 2009 – 2012 – Preceptor, Introduction to Clinical Medicine, University of Mississippi School of
      Medicine, Jackson, MS

      August 2009 – 2011 – Chair, Intern Recruitment Task Force, Department of Medicine, University of
      Mississippi Medical Center

      July 2008 – present – Pulmonary Section Director for Introduction to Clinical Medicine, University of
      Mississippi School of Medicine, Jackson, MS

      July 2008 – present – Health Careers Development Program, Mentor

      August 2007-June 2010 —Associate Fellowship Program Director, Division of Pulmonary, Critical Care, and
      Sleep Medicine, Department of Medicine


                                                           3

                                                                                                                USCA5 3236
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 32
                                                        Filed 02/24/17    of 43
                                                                       Page  32 of 43
      Demondes Haynes, MD, FCCP                                                         Curriculum Vitae (September 2016)


      2008 – Member, Search Committee for Chair of Academic Information Systems and Director of Medical
      Library

      2007 – 2012 – Critical Care Committee, University of Mississippi Medical Center

      2007– 2016 – Residency Review Subcommittee, Team Leader, University of Mississippi Medical Center

      Faculty Development

      Essentials of Instructional Design for Clinical Educators. American College of Chest Physicians. April 2010.

      Physician Talent Development Partnership Training. Department of Medicine. University of Mississippi
      School of Medicine. December 2011.

      Employment Experience

      August 2006 – July 2007—Jackson Pulmonary Associates
      Jackson, MS

      1996 & 1999(summer)—Student Teaching Asst. Gross Anatomy, University of Mississippi Medical Center

      Publications

      Journal Articles

      Haynes, D. and Baumann MH. Management of Pneumothorax. Seminars in Respiratory and Critical Care
      Medicine 2010;31:769-780.

      Haynes, D. and Baumann MH. Pleural Controversy: Etiology of Pneumothorax. Respirology 2011;16:604-
      610.

      Burkart KM1, Manichaikul A, Wilk JB, Ahmed FS, Burke GL, Enright P, Hansel NN, Haynes D, Heckbert SR,
      Hoffman EA, Kaufman JD, Kurai J, Loehr L, London SJ, Meng Y, O'Connor GT, Oelsner E, Petrini M,
      Pottinger TD, Powell CA, Redline S, Rotter JI, Smith LJ, Soler Artigas M, Tobin MD, Tsai MY, Watson K,
      White W, Young TR, Rich SS, Barr RG. APOM and high-density lipoprotein cholesterol are associated with
      lung function and per cent emphysema. The European Respiratory Journal 43:4; 2014; 1003-17.

      Haynes D, Abraham George III, Dwyer Terry, and Petrini MF. Top Ten Things to Know about Spirometry.
      Journal MSMA 2015:56;95-98.

      Book Chapters

      Haynes D and Baumann MH. Chest Tubes. In: Bouros D. ed. Pleural Disease, 2nd Edition. New York:
      Informa Healthcare. 2009

      Haynes D and Baumann MH. Non-Spontaneous Pneumothorax. In: Textbook of Pleural Diseases, 3rd edition. Light
      RW, Lee YCG. ed. Florida: CRC Press. 2016

      Editorials

      Petrini MF and Haynes D. In Search of MIP and MEP Reference Equations. Respiratory Care 2009; 54 (10):
      1304-1305.


                                                            4

                                                                                                                     USCA5 3237
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 33
                                                        Filed 02/24/17    of 43
                                                                       Page  33 of 43
      Demondes Haynes, MD, FCCP                                                       Curriculum Vitae (September 2016)


      Abstracts

      Haynes D, Petrini MF, Campbell GD, and Bhagat R. Airflow Limitation in Black versus White Patients with
      Sarcoidosis. Chest 2006; 130:143S-b
      Sumrall BH, Petrini MF, and Haynes D. Is Routine MVV Useful? Am J Respir Crit Care Med
      179;2009:A4409

      Mohammed R, Petrini MF, Spurzem J, and Haynes D. Pulmonary hypertension in sickle cell disease: Is it
      associated with vaso-occlusive crisis? Southern Society for Clinical Investigation. February 2010. New
      Orleans, LA

      Patel KC, Petrini MF, Haynes D. Impulse Oscillometry in Obese and Lean Smokers. Presented at the
      American Thoracic Society International Conference. May 2010. Am J Respir Crit Care Med
      181;2010:A2117

      Pressler JM, Jr., Haynes D, and Petrini MF. Comparison Of Spirometry In Smokers Of Varying Weight
      Classifications. Am. J. Respir. Crit. Care Med., May 2011; 183: A6452.

      Hickson D. Abed H, Gawalapu R, Petrini MF, Haynes D, Liu J, Carr JJ, Taylor H. Is Pericardial Fat a Regional
      Risk Factor for Pulmonary Vascular Health? The Association Between Pericardial Fat and Pulmonary Artery
      Systolic Pressure (The Jackson Heart Study). CHEST 2011;140:731A

      Abraham GE III, Petrini MF, Haynes D. Inter-Rater Agreement on Subjective Aspects of Pulmonary
      Function Tests Quality Improves Reliability. Am. J. Respir. Crit. Care Med., May 2011; 183: A3132.

      Burkart KM, Aldrich M, Wilk J, Powell RE, Buxbaum SG, Enright P, Hansel N, Haynes D, Heckbert S, Loehr L,
      London SJ, Lyon H, Manichaikul A, Petrini MF, Redline S, Smith LJ, White W, Rich S, Barr RG. Genome-Wide
      Association Study (GWAS) of Lung Function Among African-Americans in 5 National Heart, Lung, and
      Blood Institute (NHLBI) Cohorts. The Candidate-Gene Association Resource (CARE). Am J Respir Crit Care
      Med 2011;183:A1752.

      Ewaleifoh B, Bhagat R, Petrini MF, Haynes D, Dwyer TM. Expired Fluid Recovered During Cardiogenic
      Pulmonary Edema. Am J Respir Crit Care Med 185;2012:A1148

      Keeton K, Petrini MF, Haynes D. Spirometry is Not an Adequate Predictor of Hospitalizations in Cystic
      Fibrosis Patients. Am J Respir Crit Care Med 187;2013:A4351.

      Obi Izuchukwu, Haynes D, Petrini MF. Racial Differences of Presenting Diffusion Capacity of Carbon
      Monoxide (DLCO) in Sarcoidosis. Am J Respir Crit Care Med 191;2015:A3578

      Michal Senitko , MD , George E. Abraham 3rd , M.D. , Marcy F. Petrini , PhD , Demondes Haynes , M.D.
      Sarcoid-Like Reaction In Regional Lymph Nodes In Patients With Lung Cancer: Incidence And Racial
      Disparities. American Thoracic Society International Conference 2016

      Geraldo E. Holguin, MD , Marcy F. Petrini , PhD , Demondes Haynes, M.D. Antibiotic Stewardship In
      Medical ICU: Importance Of A Multidisciplinary Approach For Antibiotic De-Escalation. American Thoracic
      Society International Conference 2016.


      Case Reports/Poster Presentations

      Portis R and Haynes D. Ovarian Hyperstimulation Syndrome and Pleural Effusion. Presented at Mississippi
      Chapter of American College of Physicians Scientific Session.

                                                           5

                                                                                                                USCA5 3238
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 34
                                                        Filed 02/24/17    of 43
                                                                       Page  34 of 43
      Demondes Haynes, MD, FCCP                                                        Curriculum Vitae (September 2016)


      Jackson, MS. October 2009

      Carter C, Portis R, and Haynes D. Myasthenia gravis in the elderly: A cause of failure to extubate.
      Presented at Mississippi Chapter of American College of Physicians Scientific Session. Jackson, MS.
      October 2010

      Senitko M., Tanner S., Haynes D. Bronchiolitis obliterans in a patient with Behcet’s disease. Presented at
      Mississippi Chapter of American College of Physicians Scientific Session. Jackson, MS. October 2010

      Ewaleifoh B, Bhagat R, Petrini MF, Haynes D, Dwyer TM. Expired Fluid Recovered During Cardiogenic
      Pulmonary Edema. Southern Society for Clinical Investigation. New Orleans, LA. February 2012

      Vanasselberg C and Haynes D. Bronchiolocentric Chronic Lymphocytic Leukemia Presenting As
      Pneumonia. Am J Respir Crit Care Med 189;2014:A4060


      Portis RL, Wilhelm A, and Haynes D. Diffuse Pulmonary Hemangiomatosis Presenting As A Large
      Intrapulmonary Vascular Shunt: A Case Report Of An Exceedingly Rare Pulmonary Vascular Proliferation.
      Am J Respir Crit Care Med 189;2014:A4856

      Williams RA, Williamson T, Wright N, Sheppard J, and Haynes D. Significant Digital Clubbing in a Patient
      with Chronic Eosinophilic Pneumonia. AL and MS American College of Physicians (ACP) Annual Scientific
      Meeting. Birmingham, Al.


      Presentations and Invited Lectures

      Introduction to Asthma. Department of Respiratory Care Services. University of Mississippi Medical
      Center. April 2013.

      Asthma Diagnosis and Treatment. Department of Otolaryngology Residency Program. University of
      Mississippi Medical Center. March 2013.

      Pulmonary Hypertension. Mississippi Chapter of American Lung Association. Jackson, MS. August 2013.

      Thromboembolic Disease, Pulmonary Hypertension, and Cor Pulmonale. Mississippi College Physician
      Assistants Program. January 2013. Jackson, MS.

      Pulmonary Hypertension. Division of Hospital Medicine, Department of Medicine. University of Mississippi
      Medical Center. November 2012.

      Pulmonary Hypertension. Department of Respiratory Care Services. University of Mississippi Medical
      Center. August 2012.

      Chronic Obstructive Pulmonary Disease (COPD). Oral and Maxillofacial Surgery Grand Rounds. University
      of Mississippi Medical Center. Jackson, MS. September 2012.

      Chronic Obstructive Pulmonary Disease (COPD) Update. Annual Nurse Practitioner Conference. Jackson,
      MS. September 2012.

      Mechanical Ventilation. Department of Neurosurgery Residency Program. University of Mississippi
      Medical Center. May 2012.


                                                           6

                                                                                                                   USCA5 3239
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 35
                                                        Filed 02/24/17    of 43
                                                                       Page  35 of 43
      Demondes Haynes, MD, FCCP                                                      Curriculum Vitae (September 2016)


      Chronic Obstructive Pulmonary Disease (COPD). Residency Program, Department of Medicine, University
      of Mississippi Medical Center. January 2012

      Thromboembolic Disease, Pulmonary Hypertension, and Cor Pulmonale. Mississippi College Physician
      Assistants Program. January 2012. Jackson, MS.

      Pulmonary Hypertension. Division of Cardiology, Department of Medicine. University of Mississippi
      Medical Center. August 19, 2011

      Sarcoidosis. Discussion Panel Member for Department of Medicine Grand Rounds. August 2, 2011.

      Ventilator Weaning Part 2. Department of Respiratory Care Services. University of Mississippi Medical
      Center. June 2011.

      Ventilator Weaning Part 1. Department of Respiratory Care Services. University of Mississippi Medical
      Center. April 2011.

      Update on Adult Asthma Treatment. Mississippi Medical and Surgical Association Annual Conference.
      Biloxi, MS May 2011.

      End-of-Life Issues. Debate Panel Member for Department of Medicine Noon Conference. March 8, 2011.

      CXR Interpretation Part 1. Department of Respiratory Care Services. University of Mississippi Medical
      Center. July 2010

      Pulmonary Hypertension. Annual Nurse Practitioner Conference.
      Jackson, MS September 2010.

      CXR Interpretation Part 2. Department of Respiratory Care Services. University of Mississippi Medical
      Center. November 2010

      Control of Environmental Asthma Triggers. Alabama, Louisiana, and Mississippi Tri-State Thoracic Society
      Conference. Natchez, MS January 2010.

      The Other Side of Neuro: Mechanical Ventilation. American Association of Neuroscience Nurses. Jackson,
      MS. October 2009.

      Asthma. Mississippi chapter of American Lung Association.
      Jackson, MS. September 2009

      Chronic Obstructive Pulmonary Disease. Annual Nurse Practitioner Update. Jackson, MS. September
      2008

      Clinicopathologic Conference. Department of Medicine Noon Conference, University of Mississippi School
      of Medicine. Jackson, MS.

      Pulmonary Hypertension in Sickle Cell Disease. Sickle Cell Conference: Managing Complications of Sickle
      Cell Disease. May 2008. University of Mississippi Medical Center.

      COPD and Asthma. Advanced Practitioner Provider Conference. Jackson, MS. April 2015.

      Chronic Obstructive Pulmonary Disease (COPD). Oral and Maxillofacial Surgery Grand Rounds. University
      of Mississippi Medical Center. Jackson, MS. May 2015.

                                                          7

                                                                                                                USCA5 3240
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 36
                                                        Filed 02/24/17    of 43
                                                                       Page  36 of 43
      Demondes Haynes, MD, FCCP                                                     Curriculum Vitae (September 2016)


      Mechanical Ventilation. University of Mississippi Medical Center Advanced Practice Provider Conference.
      Pearl, MS, September 2016.


      Regional and National Invited Presentations

      Pleural Disease Literature Review. American College of Chest Physicians (ACCP) National Meeting. October
      2013. Chicago, IL.

      Pleural Disease Literature Review. American College of Chest Physicians (ACCP) National Meeting. October
      2014. Austin, TX.

      COPD Treatment. Alabama and Mississippi American College of Physicians (ACP) Annual Scientific
      Meeting. June 2016. Birmingham, AL.


       Community Activities/Service

      March 2011 – present – Member, Young Physicians Advisory Council to the Board of Directors of Medical
      Assurance Company of Mississippi

      March 2011 – present – Member, Membership Committee, Medical Assurance Company of Mississippi

      2005-2009—Co-Chair, Mentoring Program, Word and Worship Church

      2002-present—Chairperson, Usher Ministry, Word and Worship Church

      2002-2003—Member, Board of Directors of Crossings of Autumn Woods Property Owners Association.

      May 2015 — present, Member, Clinical Advisory Board for Center for Health of Minority Males (C-HMM)
      at The Myrlie Evers-Williams Institute for Elimination of Health Disparities. Jackson, MS

      July 2015 — present, Member, Mississippi Rural Physicians Scholars Commission Board




                                                         8

                                                                                                                USCA5 3241
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 37
                                                        Filed 02/24/17    of 43
                                                                       Page  37 of 43




                           EXHIBIT B




                                                                             USCA5 3242
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 38
                                                        Filed 02/24/17    of 43
                                                                       Page  38 of 43



                    REFERENCE LIST FOR DEMONDES HAYNES, M.D.

                                       ARTICLE/DOCUMENT
  1    Adcock, D.M., and Gosselin, R. "Direct Oral Anticoagulants (DOACs) in the
       Laboratory: 2015 Review." Thromb Res. 2015 Jul;136(1):7-12
  2    Ageno W, Mantovani LG, Haas S, et al. “Safety and effectiveness of oral rivaroxaban
       versus standard anticoagulation for the treatment of symptomatic deep-vein
       thrombosis (XALIA): an international, prospective, non-interventional study
       Supplement.” Lancet Haematol 2015; published online Dec 7.
       http://dx.doi.org/10.1016/S2352-3026(15)00257-4.
  3    Ageno W, Mantovani LG, Haas S, Kreutz R, Monje D, Schneider J, van Eickels M,
       Gebel M, Zell E, Turpie AG. "Safety and Effectiveness of Oral Rivaroxaban versus
       Standard Anticoagulation for the Treatment of Symptomatic Deep-vein Thrombosis
       (XALIA): An International, Prospective, Non-interventional Study." The Lancet
       Haematology 3.1 (2016)
  4    Agnelli G, Buller HR, Cohen A, Curto M, Gallus AS, Johnson M, Masiukiewicz U, Pak
       R, Thompson J, Raskob GE, Weitz JI; AMPLIFY Investigators. “Oral apixaban for
       the treatment of acute venous thromboembolism.” N Engl J Med. 2013 Aug
       29;369(9):799-808
  5    Agnelli G, Buller HR, Cohen A, Curto M, Gallus AS, Johnson M, Porcari A, Raskob
       GE, Weitz JI; AMPLIFY-EXT Investigators. “Apixaban for extended treatment of
       venous thromboembolism.” N Engl J Med. 2013 Feb 21;368(8):699-708
  6    Agnelli G, Buller HR, Cohen A, et al. “Apixaban for extended treatment of venous
       thromboembolism Supplementary Appendix.” N Engl J Med 2013;368:699-708.
  7    Agnelli G, Buller HR, Cohen A, et al. “Oral apixaban for the treatment of acute venous
       thromboembolism, Supplementary Appendix.” N Engl J Med 2013;369:799-808
  8    Anderson, F. A. "Risk Factors for Venous Thromboembolism." Circulation 107.90231
       (2003): n. pag. Web.
  9    Beckman MG1, Hooper WC, Critchley SE, Ortel TL. "Venous Thromboembolism."
       Am J Prev Med. 2010 Apr; 38(4 Suppl):S495-501
 10    Beyer-Westendorf J, Lensing AW, Arya R, Bounameaux H, Cohen AT, Wells PS,
       Middeldorp S, Verhamme P, Hughes R, Kucher N, Pap AF, Trajanovic M, Prins MH,
       Prandoni P, Weitz JI. “Choosing wisely: The impact of patient selection on efficacy and
       safety outcomes in the EINSTEIN-DVT/PE and AMPLIFY trials.” Thromb Res. 2017
       Jan; 149:29-37
 11    Burnett, Allison E., Charles E. Mahan, Sara R. Vazquez, Lynn B. Oertel, David A.
       Garcia and Jack Ansell. “Guidance for the Practical Management of the Direct Oral
       Anticoagulants (DOACs) in VTE Treatment”, J. Thromb Thrombolysis Journal
       41:206-232 (2016)
 12    Davidson BL, Verheijen S, Lensing AW, Gebel M, Brighton TA, Lyons RM, Rehm J,
       Prins MH. “Bleeding risk of patients with acute venous thromboembolism taking
       nonsteroidal anti-inflammatory drugs or aspirin.” JAMA Intern Med. 2014
       Jun;174(6):947-53.
 13    Di Nisio, Marcello, Maria C. Vedovati, Antoni Riera-Mestre; Martin H. Prins;
       Katharina Mueller; Alexander T. Cohen; Philip S. Wells; Jan Beyer-Westendorf; Paola
       Prandoni; Henri Bounameaux; Dagmar Kubitza; Jonas Schneider; Ron Pisters; Jan



                                                                                         USCA5 3243
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 39
                                                        Filed 02/24/17    of 43
                                                                       Page  39 of 43



       Fedacko; Ricardo Fontes-Carvalho; Anthonie S.A. Lensing. “Treatment of Venous
       Thromboembolism with Rivaroxaban in Relation to Body Weight”, Thrombosis and
       Haemostasis 116.4/2016
 14    Di Niso, Marcello; Walter Ageno; Anne W. S. Rutjes; Akos F. Pap; Harry R. Buller.
       “Rick of Major Bleeding in Patients with Venous Thromboemolism Treated With
       Rivaroxaban or with Heparin and Vitamin K Antagonists”, Thrombosis and
       Haemostasis 115.2/2016
 15    EINSTEIN Investigators "Oral Rivaroxaban for Symptomatic Venous
       Thromboembolism." New England Journal of Medicine N Engl J Med 363.26 (2010):
       2499-510. EINSTEIN DVT Study (2010)
 16    EINSTEIN PE Investigators "Oral Rivaroxaban for the Treatment of Symptomatic
       Pulmonary Embolism." New England Journal of Medicine N Engl J Med 366.14
       (2012): 1287-297
 17    Einstein Protocol
 18    Eerenberg ES, Middeldorp S, Levi M, Lensing AW, Büller HR. “Clinical impact and
       course of major bleeding with rivaroxaban and vitamin K antagonists.” J Thromb
       Haemost. 2015 Sep;13(9):1590-6.
 19    FDA, Non-Inferiority Clinical Trials to Establish Effectiveness Guidance for Industry.
       November 2016,
       http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guida
       nces/ucm202140.pdf
 20    Gosselin, R.C. and Dm.M. Adcock. "The Laboratory's 2015 Perspective on Direct Oral
       Anticoagulant Testing." J Thrombo Haemost Journal of Thrombosis and Haemostasis
       14.5 (2016): 886-93
 21    Guyatt GH1, Akl EA, Crowther M, Gutterman DD, Schuünemann HJ; American
       College of Chest Physicians Antithrombotic Therapy and Prevention of Thrombosis
       Panel. “Executive Summary Antithrombotic Therapy and Prevention of Thrombosis,
       9th ed: American College of Chest Physicians Evidence-Based Clinical Practice
       Guidelines”; CHEST 2012; 141(2 Suppl):7S–47S
 22    Hokusai-VTE Investigators, Büller HR, Décousus H, Grosso MA, Mercuri M,
       Middeldorp S, Prins MH, Raskob GE, Schellong SM, Schwocho L, Segers A, Shi M,
       Verhamme P, Wells P. “Edoxaban versus warfarin for the treatment of symptomatic
       venous thromboembolism.” N Engl J Med. 2013 Oct 10;369(15):1406-15
 23    Kearon C, Akl EA, Ornelas J, Blaivas A, Jimenez D, Bounameaux H, Huisman M, King
       CS, Morris TA, Sood N, Stevens SM, Vintch JR, Wells P, Woller SC, Moores L.
       “Antithrombotic Therapy For VTE Disease: Chest Guideline And Expert Panel
       Report”. Chest. 2016 149(2):315-352.
 24    Kearon, C. "Natural History of Venous Thromboembolism." Circulation 107.90231
       (2003)
 25    Lindhoff-Last, Edelgard, Meyer Michel Samama, Thomas L. Ortel, Jeffrey I. Weitz,
       and Theodore E. Spiro. "Assays for Measuring Rivaroxaban: Their Suitability and
       Limitations."
 26    Prins, Martin H., Anthonie Wa Lensing, Rupert Bauersachs, Bonno Van Bellen, Henri
       Bounameaux, Timothy A. Brighton, Alexander T. Cohen, Bruce L. Davidson, Hervé
       Decousus, Gary E. Raskob, Scott D. Berkowitz, and Philip S. Wells. "Oral Rivaroxaban
       versus Standard Therapy for the Treatment of Symptomatic Venous



                                                                                        USCA5 3244
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 40
                                                        Filed 02/24/17    of 43
                                                                       Page  40 of 43



       Thromboembolism: A Pooled Analysis of the EINSTEIN-DVT and PE Randomized
       Studies." Thrombosis Journal Thrombosis J 11.1 (2013)
 27    Romualdi, Erica, Marco P. Donadini, and Walter Ageno. "Oral Rivaroxaban after
       Symptomatic Venous Thromboembolism: The Continued Treatment Study
       (EINSTEIN-Extension Study)." Expert Review of Cardiovascular Therapy 9.7 (2011):
       841-44
 28    Schulman S, Kakkar AK, et al. “Treatment of acute venous thromboembolism with
       dabigatran or warfarin and pooled analysis Supplemental Material.” Circulation. 2014
       Feb 18; 129(7):764-72
 29    Schulman S, Kakkar AK, Goldhaber SZ, Schellong S, Eriksson H, Mismetti P,
       Christiansen AV, Friedman J, Le Maulf F, Peter N, Kearon C; RE-COVER II Trial
       Investigators. “Treatment of acute venous thromboembolism with dabigatran or
       warfarin and pooled analysis.” Circulation. 2014 Feb 18;129(7):764-72
 30    Schulman S, Kearon C, Kakkar AK, et al. “Dabigatran versus warfarin in the
       treatment of acute venous thromboembolism Supplementary Appendix.” N Engl J Med
       2009; 361:2342-52.
 31    Schulman S, Kearon C, Kakkar AK, et al. “Extended use of dabigatran, warfarin, or
       placebo in venous thromboembolism Supplementary Appendix.” N Engl J Med
       2013;368:709-18.
 32    Schulman S, Kearon C, Kakkar AK, Mismetti P, Schellong S, Eriksson H, Baanstra D,
       Schnee J, Goldhaber SZ; RE-COVER Study Group. “Dabigatran versus warfarin in
       the treatment of acute venous thromboembolism.” N Engl J Med. 2009 Dec
       10;361(24):2342-52.
 33    Schulman S, Kearon C, Kakkar AK, Schellong S, Eriksson H, Baanstra D, Kvamme
       AM, Friedman J, Mismetti P, Goldhaber SZ; RE-MEDY Trial Investigators; RE-
       SONATE Trial Investigators. “Extended use of dabigatran, warfarin, or placebo in
       venous thromboembolism.” N Engl J Med. 2013 Feb 21;368(8):709-18.
 34    Smythe, Maureen A., John Fanikos, Michael P. Gulseth, Ann K. Wittkowsky, Sarah A.
       Spinler, William E. Dager, and Edith A. Nutescu. "Rivaroxaban: Practical
       Considerations for Ensuring Safety and Efficacy."
 35    The Hokusai-VTE Investigators. “Edoxaban versus warfarin for the treatment of
       symptomatic venous thromboembolism Supplementary Appendix.” N Engl J Med
       2013; 369:1406-15.
 36    Weitz JI, Bauersachs R, Beyer-Westendorf J, Bounameaux H, Brighton TA, Cohen AT,
       Davidson BL, Holberg G, Kakkar A, Lensing AW, Prins M, Haskell L, van Bellen B,
       Verhamme P, Wells PS, Prandoni P; EINSTEIN CHOICE Investigators, “ Two doses
       of rivaroxaban versus aspirin for prevention of recurrent venous thromboembolism
       Rationale for and design of the EINSTEIN CHOICE study” Thromb Haemost. 2015
       Aug 31; 114(3):645-50. Epub 2015 May 21.
 37    Xarelto Label and Medication Guide Nov. 2011
 38    Xarelto Label Nov. 2012
 39    Xarelto Label and Medication Guide March 2013
 40    Xarelto Label and Medication Guide August 2013
 41    Xarelto Label and Medication Guide Jan. 2014
 42    Xarelto Label and Medication Guide Feb. 2014
 43    Xarelto Label and Medication Guide Sept. 2014



                                                                                      USCA5 3245
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 41
                                                        Filed 02/24/17    of 43
                                                                       Page  41 of 43



 44    Xarelto Label Dec. 2014
 45    Xarelto Label and Medication Guide Jan. 2015
 46    Xarelto Label and Medication Guide Sep. 2015
 47    Xarelto Label and Medication Guide May 2016
 48    Misselwitz Deposition Exhibit 15
 49    Misselwitz Deposition Exhibit 17
 50    Furberg Expert Report (Generic)
 51    Henry Rinder Expert Report (Mingo)
 52    Plaintiff Dora Mingo Medical Records - All medical records as of 12/15/2016
 53    Renie Jordan, MD 08/12/2016 Deposition transcript and exhibits
 54    Stephen Keith, MD 08/11/2016 Deposition transcript and exhibits
 55    Dora Mingo 06/20/2016 Deposition transcript and exhibits




                                                                                     USCA5 3246
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 42
                                                        Filed 02/24/17    of 43
                                                                       Page  42 of 43




                          EXHIBIT C




                                                                             USCA5 3247
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document      5517-10
                                     5517-10      Filed 02/24/17
                                             *SEALED*             Page 43
                                                        Filed 02/24/17    of 43
                                                                       Page  43 of 43
   8-3-16


   Deposition - October 2010, Jackson, MS for Thomas C. Brown, Jr. vs Phillips 66 Company, et
   al.
   Trial - April 28, 2011. Thomas C. Brown, Jr. vs Phillips 66 Company, et al. Civil Action No.
   2006-196. Smith County Courthouse, Raleigh, MS. Smith County Circuit Court
   Trial - August 26, 2011. Kenneth Fairchild vs Phillips 66 Company, et. al. Cause No. 2006-098-
   CV03; Jones County Courthouse, Laurel, MS; Jones County Circuit Court
   Trial - April 20, 2012. Thomas C. Brown, Jr. vs CP Chem, et al. Jones County Courthouse,
   Laurel, MS
   Trial - June 26, 2013. Huey P. Holmes vs Pangborn Corporation. Circuit Court of Jefferson
   County, Fayette, MS.
   Trial – September 10, 2013. Patrick Claiborne, Brian Claiborne, Deonna Powell on behalf of
   beneficiaries of Lawrence Armstrong, deceased vs Pangborn Corporation, et. al. Civil Action
   2011-189. Claiborne County Circuit Court. Port Gibson, MS.
   Trial – November 19, 2013. Billy George Wachter vs American Optical et. al. Washington
   County. Greenville, MS
   Deposition – November 2014. Robert Rankin vs American Optical, et. al. Jackson, MS.
   Trial – December 12, 2014. John Banks vs American Optical, et. al. Hinds County Circuit
   Court, Jackson, MS
   Trial – February 23, 2015. Robert Rankin vs American Optical. Jefferson County Courthouse.
   Fayette, MS.




                                                                                               USCA5 3248
